931 F.2d 886Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Frank CLEMENTS-EL, Plaintiff-Appellant,v.Larry W. HUFFMAN, L.G. Taylor, J. Lee, P.J. Mueller, VernonWood, Larry W. Saunders, Defendants-Appellees.
    No. 91-6534.
    United States Court of Appeals, Fourth Circuit.
    Submitted April 8, 1991.Decided April 30, 1991.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Alexandria.  Albert V. Bryan, Jr., Chief District Judge.  (CA-90-1420-AM)
      Frank Clements-El, appellant pro se.
      Before MURNAGHAN, SPROUSE and NIEMEYER, Circuit Judges.
      E.D.Va.
      AFFIRMED.
      PER CURIAM:
    
    
      1
      Frank Clements-El appeals the district court's order dismissing this 42 U.S.C. Sec. 1983 action for failure to demonstrate administrative exhaustion.  Acting pursuant to 42 U.S.C. Sec. 1997e, the district court ordered appellant to exhaust administrative remedies and to advise the court within 90 days of the result of the administrative proceedings.  It warned appellant that failure to advise the court regarding exhaustion would result in dismissal of the action.  The district court dismissed the case without prejudice upon expiration of the 90-day period, appellant not having complied with its order.
    
    
      2
      The district court could properly require exhaustion of administrative remedies under 42 U.S.C. Sec. 1997e.  Its dismissal of the action, without prejudice, when appellant failed to comply with its order was not an abuse of discretion.  Accordingly, although we grant leave to proceed in forma pauperis, we affirm the judgment of the district court.  We note that Clements-El has attached various papers to his notice of appeal that appear to be evidence of exhaustion.  Appellant is advised that he may refile his Sec. 1983 complaint with these submissions in the district court.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      3
      AFFIRMED.
    
    